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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FEDERAL CAPITAL HABEAS
PROJECT; KENNETH EUGENE
BARRETT; DUSTIN JOHN HIGGS;
NORRIS HOLDER; and REJON
TAYLOR;
                                                     Case No. 20-cv-03742
             Plaintiffs,

        v.
WILLIAM P. BARR, in his official
capacity as Attorney General of the United
States; MICHAEL CARVAJAL, in his
official capacity as the Director of the
Federal Bureau of Prisons

                   Defendants.


                   PLAINTIFFS’ MOTION FOR SECTION 705 RELIEF
                         AND PRELIMINARY INJUNCTION

        Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiffs Federal

Capital Habeas Project, Kenneth Eugene Barrett, Dustin John Higgs, Norris Holder, and Rejon

Taylor (together, “Plaintiffs”), respectfully move this Court to issue a preliminary injunction

enjoining Defendants William P. Barr, in his official capacity as Attorney General of the United

States, and Michael Carvajal, in his official capacity as the Director of the Federal Bureau of

Prisons (together, “Defendants”) from implementing 85 Fed. Reg. 75,846 (Nov. 27, 2020) (the

“Final Rule”) and issuing a stay under 5 U.S.C. § 705, postponing the effective date of the Final

Rule.

        In support of this motion, Plaintiffs rely upon the attached memorandum of points and

authorities, the accompanying declaration, and the filings in this case. A proposed order is

attached.
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       Pursuant to Local Civil Rule 7.1(m), Elizabeth Wright, counsel for Plaintiffs, called the

U.S. Attorney’s Office for the District of Columbia, Civil Division, on December 18, 2020, to give

notice of the imminent filing of this Motion. The action not yet having been filed and there being

no government attorney assigned to it, Ms. Wright left a message with her contact information,

and provided notice of intent to file the above-captioned action and this motion.

                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Civil Rule 65.1(d), Plaintiffs respectfully request the opportunity to

present oral argument on this Motion. In light of the time sensitivity of the relief sought by this

Motion, Plaintiffs respectfully request that a hearing be set at the earliest practicable date.



Dated: December 18 2020                            By: /s/ Elizabeth Prelogar
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                                     Counsel for Plaintiff Rejon Taylor




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 18, 2020, I caused a copy of this Motion, the

supporting Memorandum of Points and Authorities, the accompanying declaration and proposed

Order to be filed electronically with the Clerk of Court through ECF and that I caused a copy of

the foregoing documents and notice of filing to be mailed by first class mail, postage paid, to the

following non-ECF participants:

               WILLIAM P. BARR,
               U.S Department of Justice
               950 Pennsylvania Avenue, NW
               Washington, D.C. 20530;

               MICHAEL CARVAJAL,
               U.S. Department of Justice
               320 First Street, NW
               Washington, D.C. 20534

Dated: December 18, 2020                         By: /s/ Elizabeth Prelogar
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